         Case 1:25-cv-10195-GAO           Document 12        Filed 01/26/25      Page 1 of 1




                           UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MASSACHUSETTS

 MARIA MOE,
                         Plaintiff,

 v.                                                          Civil Action No. 25-10195-GAO


 DONALD TRUMP, in his official capacity as
 President of the United States; JAMES R.
 MCHENRY III, in his official capacity as Acting
 Attorney General of the United States; WILLIAM
 LOTHROP, in his official capacity as Acting
 Director of the Federal Bureau of Prisons;
                         Defendants.



                                  TEMPORARY RESTRAINING ORDER


      Plaintiff’s Motion for a Temporary Restraining Order is GRANTED. Defendants and their

officers, employees, servants, agents, appointees, and successors are hereby enjoined from

reassigning Plaintiff to another facility until this matter can be heard at a schedule hearing.

      Counsel shall appear for hearing on January 28, 2025, at 4:00 p.m. in Courtroom 22, at which

time the court will hear further arguments.

      This Temporary Restraining Order shall become effective immediately upon entry by this

Court. It shall remain in effect until further order of this Court.



         DONE and Ordered this __26___ day of __January___, 2025.



                                                               __/s/ George A. O’Toole
                                                               United States District Judge
